     4:22-cr-03077-JMG-CRZ Doc # 34 Filed: 09/07/22 Page 1 of 3 - Page ID # 136




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )       4:22 CR 3077
                                              )
                vs.                           )
                                              )       GOVERNMENT’S MOTION FOR
NEIL SURESH CHANDRAN,                         )       RULE 17(c) SUBPOENA
                                              )
                       Defendant.             )

        Comes now the United States of America, pursuant to Rule 17(c) of the Federal Rules of

Criminal Procedure, and moves the Court to enter an order authorizing the United States to issue

a subpoena duces tecum, which will require production of records in the above-referenced

matter. In support of said motion the United States shows the Court:

1.      The subpoena duces tecum will be served on Intuit, Inc. regarding certain documents

relating to the accounting records of ViDelivery, Inc., ViMarket, Inc., and Studio Vi, Inc.

(companies related to the Defendant). That a copy of the proposed subpoena is attached hereto

as Exhibit A.

2.       That the records sought are evidentiary and relevant with respect to each count of the

Indictment in the instant case.

3.       That the records are not otherwise procurable by the United States in advance of trial

through the exercise of due diligence. The United States previously sought similar records from

Owen Cran through a trial subpoena, Dkt. 25, but Mr. Cran indicated that he was no longer an

employee of the relevant companies and thus claimed that he did not have legal access to the

data.

4.        That the records are necessary to enable both parties to properly prepare for trial.
     4:22-cr-03077-JMG-CRZ Doc # 34 Filed: 09/07/22 Page 2 of 3 - Page ID # 137




5.        That this application is made in good faith as the requested documents are believed to

exist.

         Wherefore, the United States prays for an Order authorizing the issuance of the subpoena

duces tecum to Intuit, Inc.

                                                     RESPECTFULLY SUBMITTED,


                                                     LORINDA I. LARYEA
                                                     ACTING CHIEF
                                                     U.S. DEPARTMENT OF JUSTICE
                                                     CRIMINAL DIVISION, FRAUD SECTION

                                             By:     /s/ William E. Johnston
                                                     WILLIAM E. JOHNSTON
                                                     ASSISTANT CHIEF, FRAUD SECTION
                                                     United States Department of Justice
                                                     Criminal Division, Fraud Section
                                                     1400 New York Ave. NW
                                                     Washington, DC 20005
                                                     Tel: (202) 514-0687

                                                     TIAN HUANG
                                                     TRIAL ATTORNEY
                                                     United States Department of Justice
                                                     Criminal Division, Fraud Section
                                                     1400 New York Ave. NW
                                                     Washington, DC 20005
                                                     Tel: (202) 598-2523

                                                     STEVEN A. RUSSELL
                                                     ACTING UNITED STATES ATTORNEY
                                                     DISTRICT OF NEBRASKA

                                                     DONALD J. KLEINE
                                                     ASSISTANT UNITED STATES ATTORNEY
                                                     DISTRICT OF NEBRASKA
                                                     1620 Dodge Street
                                                     Suite 1400
                                                     Omaha, NE 68102-1506
                                                     Tel: (402) 661-3700
   4:22-cr-03077-JMG-CRZ Doc # 34 Filed: 09/07/22 Page 3 of 3 - Page ID # 138




                                CERTIFICATE OF SERVICE


       I hereby certify that on September 7, 2022, I electronically filed the foregoing with the

Clerk of the Court of the United States District Court for the District of Nebraska by using the

CM/ECF system.

                                                   /s/ Tian Huang
                                                   TIAN HUANG
